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                               UNITED STATES DISTRICT COURT
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                              CENTRAL DISTRICT OF CALIFORNIA
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     ISABEL CAMPOS,                          ) Case No.: 2:21-CV-06864-AB (JDEx)
12                                           )
                 Plaintiff,                  )
13                                           )
           v.                                ) [PROPOSED] JUDGMENT
14                                           )
     PHILIP MORRIS USA, INC., and            )
15   DOES 1-100,
                                             )
16               Defendants.                 )
                                             )
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20         On October 21, 2021, this Court granted Defendant Philip Morris USA Inc.’s
21   Motion to Dismiss Plaintiff’s Amended Complaint without leave to amend. (Dk. Nos.
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     21, 26.) Accordingly, judgment is entered in favor of Defendant Philip Morris USA
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     Inc. This action is DISMISSED with prejudice. The Clerk shall close the file.
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26   Dated: October 25, 2021              ____________________________________
                                          The Honorable André Birotte Jr.
27                                        United States District Judge
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